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Exhibit B

DEBTORS’ MOTION FOR ENTRY OF A CONFIDENTIALITY
AGREEMENT AND STIPULATED PROTECTIVE ORDER

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UNITED STATES BANKRUPTCY COURT ORIGIN A L
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Energy Future Holdings Corp., ef al., Case No. 14-10979 (CSS)
Debtors.’ (Jointly Administered)
Re: Docket No. 1679

CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

This Confidentiality Agreement and Stipulated Protective Order (“Order”) is entered into
by and among (a) Energy Future Holdings Corp., and its debtor affiliates, as debtors and debtors
in possession (collectively, the “Debtors”); (b) certain of the Debtors’ creditors and other
constituents as specified in the signature pages of this Order; and (c) any other persons or entities
who become bound by this Order by signifying their assent through execution of Exhibit A
hereto (a “Declaration”). Each of the persons or entities identified in the foregoing clauses (a)
through (c) shall be referred to herein individually as a “Party,” and, collectively, as the
“Parties.”

Recitals

WHEREAS, there are, or may be, judicial or other proceedings, including but not limited
to contested motions, adversary proceedings and other disputes (each a “Dispute” and,
collectively, the “Disputes”) arising out of or relating to the Debtors’ filing of voluntary petitions
under chapter 11 of title 11 of the United States Code, U.S.C. §§ 101-1532 (the “Bankruptcy

Code”) in this Court (the cases commenced by such petitions, the “Chapter 11 Cases”); and

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of

the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
Chapter 11 cases, which are being jointly administered on a final basis, a complete list of the debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com,

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WHEREAS, the Parties have sought or may seek certain Discovery Material (as defined
below) from one another with respect to one or more Disputes, including through informal
requests, Rule 2004 motions, or service of document requests, interrogatories, depositions, and
other discovery requests (collectively “Discovery Requests”) as provided by the Federal Rules of
Civil Procedure (the “Federal Rules”), the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), and the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware (the “Local Rules”); and

WHEREAS, the Parties anticipate that there are certain persons or entities other than the
Parties hereto” that may also propound or be served with Discovery Requests in connection with
one or more Disputes during the course of the Chapter 11 Cases;

NOW, THEREFORE, to facilitate and expedite the production, exchange and treatment
of Discovery Material (as defined below), to facilitate the prompt resolution of disputes over
confidentiality, and to protect Discovery Material that a Party seeks to maintain as confidential,
the Parties stipulate and agree as follows:

1. The Parties shall submit this Confidentiality Agreement and Stipulated Protective
Order to the Court for approval. The Parties shall abide by the terms of this Order even if this

Order is not entered by the Court for any reason, unless the Court otherwise determines.

2. The Parties agree that the U.S. Trustee shall be provided with access to all
Discovery Material and may conduct and participate in all discovery contemplated and governed
by this Order. For purposes of this Order, the U.S. Trustee includes all attorneys and any staff of

the U.S. Trustee Program, including members of the Executive Office for U.S. Trustees.

Reference herein to “non-Parties” or a “non-Party,” or a “non-Party” becoming a “Party,” is for purposes of

reference in this Order only. All such references herein are not intended to reflect any agreement as to whether any
“Party” is or will become a “party,” or any “non-Party” will not be a “party,” in any case or other proceeding, or
otherwise to reflect any agreement as to the “party” or “non-party” status of any litigant.

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3. All deadlines stated herein shall be computed pursuant to Rule 9006 of the

Federal Rules of Bankruptcy Procedure.

Scope of Order

4. This Order applies to all information, documents and things exchanged in or
subject to discovery that is produced on or after April 29, 2014, either by a Party or a non-Party
(each a “Producing Person”), to any other Party or non-Party (each a “Receiving Party”),
formally or informally, either prior to or after the filing of a judicial proceeding, in response to or
in connection with any Discovery Requests, including without limitation, deposition testimony
(whether based upon oral examination or written questions), interrogatories, answers to
interrogatories, requests for admission, responses to requests for admission, documents,
information and things produced (including documents, information and things produced to a
Receiving Party for inspection and documents, whether in the form of originals or copies) as well
as any and all copies, abstracts, digests, notes, summaries, and excerpts thereof (collectively

referred to as “Discovery Material”).

5. Any non-Party that executes and delivers a Declaration to the Parties shall be
treated as a Party to this Order with all rights and obligations of the signatory Parties hereto and
shall be permitted to review Confidential Material and Highly Confidential Material as set forth

in Paragraphs 12 and 13.

6. This Order applies to all non-Parties that are served with subpoenas in connection
with a Dispute or who otherwise produce documents or are noticed for depositions with respect
to a Dispute, and all such non-Parties are entitled to the protections afforded hereby and subject
to the obligations contained herein upon signing a Declaration and agreeing to be bound by the

terms of this Order.

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Any Party or its counsel serving a subpoena upon a non-Party, which subpoena

requires the production of documents or testimony, shall serve a copy of this Order along with

such subpoena and instruct the non-Party recipient of such subpoena that he, she or it may

designate documents or testimony in a Dispute produced pursuant to such subpoena according to

the provisions herein.

8.

Material” or

Designating Discovery Material

Any Producing Person may designate Discovery Material as “Confidential

“Highly Confidential Material” (any such Discovery Material, “Designated

Material”) in accordance with the following provisions:

a.

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Confidential Material: A Producing Person may designate Discovery Material as

“Confidential” if such Producing Person believes in good faith (or with respect to
documents received from another person, has been reasonably advised by such
other person) that such Discovery Material constitutes or includes information
that: has not been made public and that the Producing Person would not want to
be made public in the ordinary course of its activities, including but not limited to
technical, business, financial, personal or other information of a nature that can be
protected under Rule 26(c) of the Federal Rules of Civil Procedure and Rules
7026 or 9018 of the Federal Rules of Bankruptcy Procedure; or is subject by law
or by contract to a legally protected right of privacy; or the Producing Person is
under a preexisting obligation to a third-party to treat as confidential; or the
Producing Person has in good faith been requested by another Party or non-Party

to so designate on the grounds that such other Party or non-Party considers such
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material to contain information that is confidential or proprietary to such Party or

non-Party.

Highly Confidential Material: A Producing Person may designate Discovery

Material as “Highly Confidential” if such Producing Person believes in good faith
(or with respect to documents received from another person, has been reasonably
advised by such other person) that such Discovery Material constitutes or includes
Highly Confidential Discovery Material (as defined herein) that is of such a
nature that a risk of competitive injury would be created if such Discovery
Material were disclosed to persons other than those identified in Paragraph 13 of
this Order, such as trade secrets, sensitive financial or business information, or
material prepared by its industry advisors, financial advisors, accounting advisors,
experts and consultants (and their respective staff) that are retained by the
signatories to this Order in connection with the Disputes or these Chapter 11
cases, and only to the extent that the Producing Person believes in good faith that
such material is of such a nature that “Highly Confidential” treatment is
warranted. Any model used by a testifying industry expert in connection with
preparing an opinion or underlying that opinion that has been customized by the
expert or is not commercially available may be produced as “Highly

Confidential.”

Undesignated Material: Subject to the rights and obligations of the Parties under

Paragraphs 10, 11, and 26 of this Order, no Party shall have any obligation or duty
to maintain as confidential or prevent from disclosure any Discovery Material that

is not Designated Material (such Discovery Material, “Undesignated Material”).
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9. Manner Of Designation: Where reasonably practicable, any Designated Material

shall be designated by the Producing Person as such by marking every such page “Highly
Confidential” or “Confidential” as applicable. Such markings should not obliterate or obscure
the content of the material that is produced. Where marking every page of such materials is not
reasonably practicable, such as with certain native file documents, a Producing Person may
designate material as “Highly Confidential” or “Confidential” by informing the Receiving Party
in writing in a clear and conspicuous manner at the time of production of such material that such

material is “Highly Confidential” or “Confidential.”

10. Inadvertent Failure To Designate: A Party’s inadvertent failure to designate any

Discovery Material as “Highly Confidential” or “Confidential” shall not be deemed a waiver of
that Party’s later claim that such Discovery Material is Designated Material or is entitled to
another designation pursuant to this Order (“Misdesignated Material”) at any time thereafter. At
such time, arrangement will be made for the destruction of the Misdesignated Material or for the
return to the Producing Person of all copies of the Misdesignated Material and for the
substitution, where appropriate, of properly labeled copies of such Discovery Material. Upon
receipt of replacement copies of such Misdesignated Material with the proper designation, the
Receiving Party or Parties shall take all commercially reasonable steps to return or destroy all
previously produced copies of such Misdesignated Material. If requested by the Producing
Person, a Receiving Party shall verify in writing that it has taken all commercially reasonable

steps to return or destroy such Misdesignated Material.

Use and Disclosure of Confidential or Highly Confidential Material

11. General Limitations On Use And Disclosure Of All Discovery Material: All

Discovery Material, whether Designated or Undesignated Material, shall be used by the

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Receiving Parties solely for the purposes of a Dispute or the Chapter 11 Cases (including the
Parties’ consideration of any Dispute leading up to the commencement of any case or
proceeding) and in any judicial proceedings relating to any Dispute or these Chapter 11 Cases,
and solely to the extent reasonably necessary to accomplish the purpose for which disclosure is
made, and not for any other purpose, including any other litigation or judicial proceedings, or

any business, competitive, governmental, commercial, or administrative purpose or function.

12. Confidential Material: Confidential Material, and any and all information

contained therein, shall be given, shown, made available to or communicated only to the

following:

a. Debtors;

b. Debtors’ creditors and other constituents as specified in the signature
pages to this Order, including their respective members, managers,
partners, directors, officers, employees, and agents who are assisting with
or making decisions with respect to any Dispute;

C. The U.S. Trustee;

d. any non-Party who has signed a Declaration, in the form provided as
Exhibit A hereto; and

e. any other persons specified in Paragraph 13 below.

13. Highly Confidential Material: Highly Confidential Material, and any and all

information contained therein, shall be given, shown, made available to or communicated only to

the following:

a. outside counsel, and staff working under the express direction of such
counsel, for:

(i) Debtors;

(il) Debtors’ creditors and other constituents as specified in the
signature pages to this Order;

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(iii) The U.S. Trustee; and

(iv) | any non-Party who has signed a Declaration, in the form provided
as Exhibit A hereto.

industry advisors, financial advisors, accounting advisors, experts and
consultants (and their respective staff) that are retained by the signatories
to this Order in connection with the Disputes or these chapter 11 cases;

any person who is indicated on the face of a document to have been an
author, addressee or copy recipient thereof, an actual or intended recipient
thereof, or in the case of meeting minutes, an attendee of the meeting;

for purposes of witness preparation, any deponent or witness who was
noticed for a deposition, or is on a witness list for hearing or trial, in
preparation for his or her noticed deposition, hearing, or trial testimony
where such Highly Confidential Material is determined by counsel in good
faith to be necessary to the anticipated subject matter of testimony, and
that doing so would not cause competitive harm, provided, however, that
such Highly Confidential Material can only be shared with such person in
connection with preparation for the anticipated testimony, and the persons
identified in this paragraph shall not be permitted to retain copies of such
Highly Confidential Material;

any adverse witness during the course of a deposition where counsel
questioning the witness reasonably and in good faith believes that
questioning the witness regarding the document is necessary and that
doing so would not cause competitive harm;

outside photocopying, graphic production services, or litigation support
services, as necessary for use in connection with a Dispute or these
Chapter 11 cases;

court reporters, stenographers, or videographers who record deposition or
other testimony in connection with a Dispute or these Chapter 11 cases;

the Court, its officers and clerical staff in any judicial proceeding that may
result from a Dispute or these Chapter 11 cases;

any government agency (other than the U.S. Trustee), internal or external
auditor or regulatory body or authority having authority to regulate or
oversee any respects of the Receiving Party’s business or that of its
affiliates, if required by any applicable statute, law, rule or regulation,
subpoena, civil investigative demand or similar demand, or request;
provided that (i) the Receiving Party will provide the Producing Person
with prior written notice of any such request or requirement (unless such
notice is prohibited by applicable law) so that the Producing Person may
seek a protective order or other appropriate remedy, and (ii) the Receiving

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Party advises such recipient of the confidential nature of the information
being disclosed and requests confidential treatment thereof, and

j. any other person or entity with respect to whom the Producing Person may
consent in writing.

14. Designated Material To Be Disclosed Only In Accordance With Paragraphs 12

and 13: Highly Confidential Material, and any and all information contained therein, shall not be
given, shown, made available to, disclosed or communicated in any way, except to those people
provided in Paragraph 13. Confidential Material, and the substantive information contained
therein, shall not be given, shown, made available to, disclosed or communicated in any way,

except to those people provided in Paragraph 12.

15. Prerequisite To Disclosure Of Designated Material: Before any person or their

representative identified in Paragraph 13(b), 13(d), or 13(j) is given access to Designated
Material, if permitted by the above rules, such person or their representative shall be provided
with a copy of this Order and shall execute a Declaration, in the form provided as Exhibit A
hereto. Each such Declaration shall be retained in the files of counsel for the Party who gave
access to the Designated Material to the person who was provided such access. Such executed
Declarations shall not be subject to disclosure under the Federal Rules or the Bankruptcy Rules

unless a showing of good cause is made and the Court so orders.

16. Sealing of Designated Material Filed With Or Submitted To Court:

a. Designated Material contained in pleadings, documents, or other papers (or
attachments thereto) that a Party seeks to file with the Court shall be redacted and
filed with the Court under a temporary seal. Only those portions of pleadings,

documents, or other papers (or attachments thereto) that contain Designated

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Material may be filed under the temporary seal. To file pleadings, documents or
other papers (or attachments thereto) with the Court under the temporary seal,
parties shall file the pleadings, documents or other papers (or attachments thereto)
on the Court’s electronic docket in redacted form and un-redacted copies shall be
delivered to the Court in a separate sealed envelope conspicuously marked “Filed
Under Temporary Seal — Subject to Energy Future Holdings Protective

Order,” together with such other markings as may be required by the Court.

Any Party filing (“Filing Party”) with the Court pleadings, documents or other
papers (or attachments thereto) containing Designated Material under the
temporary seal shall serve the Debtors, the U.S. Trustee and Counsel for the

Official Committee of Unsecured Creditors with un-redacted copies.

Each Filing Party shall use best efforts when filing with the Court pleadings,
documents, or other papers (or attachments thereto) to remove only Designated
Material from pleadings, documents or other papers (or attachments thereto).
Under no circumstances shall entire transcripts of depositions be filed under the

temporary seal.

Unless the Designating Party provides written notice to the Filing Party within
seven days of the date on which the Filing Party filed a pleading, document or
other paper (or attachments thereto) with the Court under the temporary seal, the
Filing Party shall file a notice with the Court advising the Court that the pleading,
document or other paper (or attachments thereto) does not meet the requirements
for sealing under 11 U.S.C. Section 107(b) and requesting that the temporary seal

be lifted and the pleadings, documents or other papers (or attachments thereto)

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provided in the sealed envelope be filed by the Clerk on the Court’s electronic
docket. The Filing Party shall assist the Clerk in any way requested to ensure that
the temporary seal is lifted and that the public has access to the un-redacted

documents.

If the Designating Party provides written notice to the Filing Party, the Debtors,
the U.S. Trustee and the Official Committee of Unsecured Creditors within seven
days of the date on which the Filing Party filed a pleading, document or other
paper (or attachments thereto) with the Court that all or a part of the Designated
Material satisfies the requirements of 11 U.S.C. Section 107(b) and should remain
under the temporary seal, then the Designating Party, the Filing Party, the
Debtors, the U.S. Trustee, and the Official Committee of Unsecured Creditors
shall meet and confer in an effort to reach a consensus regarding the
appropriateness of the Designated Material being sealed and access to the public
restricted, provided however, the foregoing shall not have to meet and confer to
the extent the Designating Party receives confirmation that none of the Filing
Party, the Debtors, the U.S. Trustee, and the Official Committee of Unsecured
Creditors objects to the Designated Material remaining under seal. If no
consensus is reached by the 10th day following the date of the written notice, then
the Designating Party shall, within 5 days thereof, file with the Court a sealing
motion under 11 U.S.C. Section 107(b) and Rule 9018 seeking Court
authorization to have the pleading, document or other paper (or attachments)

remain under seal. Until the Court decides the sealing motion, the pleading,

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document or other paper (or attachments thereto) shall remain under the

temporary seal.

17. Use of Discovery Material In Open Court: The limitations on disclosure in this

Order shall not apply to any Discovery Materials offered or otherwise used by any Party at trial
or any hearing held in open court except as provided in this paragraph. As part of any pretrial
conference or any meet and confer regarding the use of exhibits in any evidentiary hearing, and
at least 72 hours prior to the use of any Designated Material at trial or any hearing to be held in
open court, counsel for any Party who desires to offer or use such Designated Material at trial or
any hearing to be held in open court shall meet and confer in good faith with the Producing
Person together with any other Parties who have expressed interest in participating in such meet
and confer to discuss ways to redact the Designated Material so that the material may be offered
or otherwise used by any party, in accordance with the provisions of the Bankruptcy Code and
Bankruptcy Rules. If the Parties are unable to resolve a dispute related to such Designated
Material, then the Producing Party bears the burden of requesting relief from the Court and, in
the absence of such relief, there shall be no limitations on the ability of the Parties to offer or

otherwise use such Designated Material at trial or any hearing held in open court.

Depositions

18. Deposition Testimony - Manner Of Designation: In the case of depositions, if

counsel for a Party or non-Party believes that a portion of the testimony given at a deposition
should be Designated Material of such Party or non-Party, such testimony may be designated as
appropriate by:

a. Stating so orally on the record and requesting that the relevant portion(s) of

testimony is so designated; or

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b. Providing written notice within seven (7) days of the Party’s or non-Party’s
receipt of the final transcript from the court reporter that the relevant portion(s) of
such transcript or videotape of a deposition thereof is so designated, except in the
event that a hearing on related issues is scheduled to occur within seven (7) days,
in which case the foregoing seven (7) day period will be reduced to three (3)
business days. Such designation and notice shall be made in writing to the court
reporter, with copies to all other counsel, identifying the portion(s) of the
transcript that is so designated, and directing the court reporter to treat the
transcript as provided in Paragraph 22 below. Until expiration of the aforesaid
seven (7) day period following receipt of the transcript by the Parties or non-
Parties, all deposition transcripts and videotapes shall be considered and treated as

Highly Confidential unless otherwise agreed on the record at the deposition.

19. Designated Material Used As Exhibits During Depositions: Nothing in Paragraph

18 shall apply to or affect the confidentiality designations on Discovery Material entered as

exhibits at depositions.

20. Witness Review Of Deposition Testimony: Nothing in Paragraph 18 shall

preclude the witness from reviewing his or her deposition transcript.

21. Presence Of Certain Persons During Designated Deposition Testimony: When

Designated Material is elicited during a deposition, persons not entitled to receive such
information under the terms of this Order shall be excluded from the portion of the deposition so

designated.

22. Responsibilities And Obligations Of Court Reporters: In the event that testimony

is designated as Confidential or Highly Confidential, the court reporter, who shall first have

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agreed to abide by the terms of this paragraph, shall be instructed to include on the cover page of
each such transcript the legend: “This transcript portion contains information subject to a
Protective Order and shall be used only in accordance therewith” and each page of the transcript
shall include the legend “Confidential” or “Highly Confidential,” as appropriate. If the
deposition is videotaped, the videotape shall also be subject to the same level of confidentiality
as the transcript and include the legend “Confidential” or “Highly Confidential,” as appropriate,

if any portion of the transcript itself is so designated.

General Provisions

23. This Order is a procedural device intended to protect Discovery Materials
designated as Designated Material. Nothing in this Order shall affect any Party’s or non-Party’s

rights or obligations unrelated to the confidentiality of Discovery Materials.

24. | Nothing contained herein shall be deemed a waiver or relinquishment by any
Party or non-Party of any objection, including but not limited to, any objection concerning the
confidentiality or proprietary nature of any documents, information, or data requested by a Party
or non-Party, any right to object to any discovery request, or any right to object to the
admissibility of evidence on any ground, or to seek any further protective order, or to seek relief
from the Court or any other applicable court from any provision of this Order by application on

notice on any grounds.

25. Nothing herein shall prevent the U.S. Trustee from disclosing Designated
Material for civil or criminal law enforcement purposes, whether informally or in compliance
with a subpoena or court order. To the extent that Designated Material is sought from the U.S.
Trustee pursuant to any request under the Freedom of Information Act, the Privacy Act, or other

applicable law requiring disclosure, or informal requests from other government agencies, prior

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to the disclosure of any Designated Material, the U.S. Trustee shall provide the Designating
Party with prompt written notice to give the Designating Party an opportunity to object to the
disclosure of any specific portion of the Designated Material. If the Designating Party does not
object within seven days of the date of the U.S. Trustee’s written notice, then the U.S. Trustee
may disclose the Designated Material. If the Designating Party objects, then the U.S. Trustee will
not disclose the Designated Material until either (a) a consensual resolution is reached or (b) the
Designating Party obtains relief from the Court; provided, however, that the U.S. Trustee may
disclose the Designated Material if a resolution has not been reached and the Court has not

entered an order restricting disclosure within 14 days of the U.S. Trustee’s written notice.

26. Late Designation Of Discovery Material: The failure to designate particular

Discovery Material as “Confidential” or “Highly Confidential” at the time of production shall
not operate to waive a Producing Person’s right to later so designate such Discovery Material.
Notwithstanding the foregoing, no Party shall be deemed to have violated this Order if, prior to
notification of any later designation, such Discovery Material was disclosed or used in any
manner consistent with its original designation but inconsistent with its later designation. Once
such later designation has been made, however, any Discovery Material shall be treated in
accordance with that later designation; provided, however, that if the material that was not
designated has been, at the time of the later designation, previously publicly filed with a court,
no Party shall be bound by such later designation except to the extent determined by the Court

upon motion of the Party or non-Party that failed to make the designation.

27. Unauthorized Disclosure Of Designated Material: In the event of a disclosure by

a Receiving Party of Designated Material to persons or entities not authorized by this Order to

receive such Designated Material, the Receiving Party making the unauthorized disclosure shall,

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upon learning of the disclosure: immediately notify the person or entity to whom the disclosure
was made that the disclosure contains Designated Material subject to this Order; immediately
make reasonable efforts to recover the disclosed Designated Material as well as preclude further
dissemination or use by the person or entity to whom the disclosure was made; and immediately
notify the Producing Person of the identity of the person or entity to whom the disclosure was
made, the circumstances surrounding the disclosure, and the steps taken to recover the disclosed
Designated Material and ensure against further dissemination or use thereof. Disclosure of
Designated Material other than in accordance with the terms of this Order may subject the

disclosing person to such sanctions and remedies as the Court may deem appropriate.

28. | Manner Of Objecting To Designated Material: If any Receiving Party objects to

the designation of any Designated Material (whether such designation is made on a permanent
basis or temporary basis with respect to deposition testimony), the Receiving Party shall first
raise the objection with the Producing Person in writing, and confer in good faith to attempt to
resolve any dispute respecting the terms or operation of this Order. The Receiving Party may
seek relief from the Court if the Receiving Party and the Producing Party cannot resolve their
dispute. Until the Court rules on such an issue, the Designated Material shall continue to be
treated as designated. Upon motion, the Court may order the removal of the “Confidential” or
“Highly Confidential” designation from any Discovery Material so designated subject to the
provisions of this Order. In connection with any request for relief concerning the propriety of a
“Confidential” or “Highly Confidential” designation, the Producing Person shall bear the burden

of proof.

29. Timing Of Objections To Designated Material: A Receiving Party shall not be

obliged to challenge the propriety of a confidentiality designation at the time made, and a failure

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to do so shall not preclude a subsequent challenge thereto. The failure of any Party to challenge
the designation by a Producing Person of Discovery Materials as “Confidential” or “Highly
Confidential” during the discovery period shall not be a waiver of that Party’s right to object to

the designation at trial.

30. Inadvertent Production Of Privileged Discovery Material: This Order is entered

pursuant to Rule 502(d) of the Federal Rules of Evidence. Inadvertent production of any
Discovery Materials which a Party later claims in good faith should not have been produced
because of a privilege, including but not limited to the attorney-client privilege or work product
doctrine (“Inadvertently Produced Privileged Information”), will not by itself constitute a waiver
of any applicable privilege. Within a reasonable period of time after a Producing Person
discovers (or upon receipt of notice from another Party) that it has produced Inadvertently
Produced Privileged Information, the Producing Person shall request the return of such
Inadvertently Produced Privileged Information by identifying in writing the Discovery Materials
inadvertently produced and the basis for withholding such Discovery Materials from production.
If a Producing Person requests the return of Inadvertently Produced Privileged Information
pursuant to this paragraph, the Receiving Party shall immediately take all commercially
reasonable steps to return or destroy the Discovery Materials (and copies thereof) and shall take
all commercially reasonable steps to sequester or destroy any work product that incorporates the
Inadvertently Produced Privileged Information. If the Receiving Party disputes the privilege
claim, it must notify the Producing Person of the dispute and the basis therefore in writing within
ten (10) days of receipt of the Producing Person’s notification. Other than for an in camera
review in connection with seeking a determination by the Court, the Receiving Party may not use

or disclose any Inadvertently Produced Privileged Information until the dispute is resolved. The

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Parties shall thereafter meet and confer regarding the disputed privilege claim. If the Parties
cannot resolve their dispute, either Party may seek a determination from the Court whether the
privilege applies. The Producing Person must preserve the Inadvertently Produced Privileged
Information and the Receiving Party may not use the Inadvertently Produced Privileged

Information for any purpose until the dispute is resolved.

31. | Use Of Non-Confidential Material: To the extent that any Party has documents or

information that (i) were already in its possession as of April 29, 2014; (ii) are received or
become available to a Party on a non-confidential basis not in violation of an obligation of
confidentiality to any other person; (iii) were independently developed by such Party without
violating its obligations hereunder; or (iv) are published or become publicly available in a
manner that is not in violation of this Order or of any obligation of confidentiality to any other
person, including a Party (collectively “Non-Confidential Material”), nothing in this Order shall
limit a Party’s ability to use Non-Confidential Material in a deposition, hearing, trial or otherwise
in connection with any Dispute or the Chapter 11 Cases. Nothing in this Order shall affect the
obligation of any Party to comply with any other confidentiality agreement with, or undertaking
to, any other person or Party, including, but not limited to, any confidentiality obligations arising

from agreements entered into prior to a Dispute.

32. . Obligations Following Conclusion Of The Disputes: Within 90 days of the later

of the conclusion of the relevant Dispute(s) or the Debtors’ emergence from bankruptcy,
including all appeals as to all Parties, all Parties and non-Parties shall take all commercially
reasonable steps to return to counsel for the respective Producing Person, or to destroy, all
Designated Material, and all copies or notes thereof in the possession of any person, except that:

counsel may retain for its records their work product and a copy of court filings, deposition

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transcripts, deposition videotapes, deposition exhibits, expert reports, and exhibits introduced at
any hearing; and a Receiving Party may retain Designated Material that is auto-archived or
otherwise “backed up” on electronic management and communications systems or servers, or as
may be required for regulatory recordkeeping purposes; provided that such retained documents
will continue to be treated as provided in this Order. If a Receiving Party chooses to take all
commercially reasonable steps to destroy, rather than return, documents in accordance with this
paragraph, that Receiving Party shall, if requested, verify such destruction in writing to counsel
for the Producing Person. Notwithstanding anything in this paragraph, to the extent that the
information in the Designated Material remains confidential, the terms of this Order shall remain

binding.

33. Continuing Applicability Of Confidentiality Agreement And Stipulated Protective

Order: The provisions of this Order shall survive the final termination of the Disputes and the
Debtors’ emergence from bankruptcy for any retained Designated Material. The final
termination of the Disputes and the Debtors’ emergence from bankruptcy shall not relieve
counsel or other persons obligated hereunder from their responsibility to maintain the
confidentiality of Designated Material pursuant to this Order, and the Court shall retain

jurisdiction to enforce the terms of this Order.

34. Amendment Of Confidentiality Agreement And Stipulated Protective Order:

Upon good cause shown, and on notice to all Parties, any Party may move to amend the
provisions of this Order at any time or the Parties may agree by written stipulation, subject to

further order of the Court if applicable, to amend the provisions of the Order.

35. Disclosure Of Designated Material In Other Proceedings: Any Receiving Party

that may be subject to a motion or other form of legal process or any regulatory process or

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demand seeking the disclosure of a Producing Person’s Designated Material: (i) shall promptly
notify the Producing Person (unless such notice is prohibited by applicable law) to enable it to
have an opportunity to appear and be heard on whether that information should be disclosed, and
(ii) in the absence of a court order preventing such legally required disclosure, the Receiving
Party shall be permitted to disclose only that portion of the information that is legally required to
be disclosed and shall inform in writing any person to whom such information is so disclosed of

the confidential nature of such information.

36. Use Of Designated Material By Producing Person: Nothing in this Order affects

the right of any Producing Person to use or disclose its own Designated Material in any way.
Subject to clause (c) of Paragraph 8, such disclosure will not waive the protections of this Order
and will not entitle other Parties, non-Parties, or their attorneys to use or disclose such

Designated Material in violation of this Order.

37. Objections To Discovery Requests: Nothing herein shall be deemed to prevent a

Party or non-Party from objecting to discovery or asserting that information being sought in
discovery is of such a nature that discovery should not be afforded because of the confidential,
personal or proprietary nature of the information being sought or to preclude a Party or non-Party

from seeking additional or further limitations on the use or disclosure of such information.

38. Obligations Of Parties: Nothing herein shall relieve a party of its obligations

under the Federal Rules, Bankruptcy Rules, Local Rules, or under any future stipulations and
orders, regarding the production of documents or the making of timely responses to Discovery

Requests in connection with any Dispute.

39. Advice Of Counsel: Nothing herein shall prevent or otherwise restrict counsel

from rendering advice to their clients in connection with the Disputes and, in the course thereof,

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relying on examination of Designated Material; provided, however, that in rendering such advice
and otherwise communicating with such client, counsel shall not make specific disclosure of any

information in any manner that is inconsistent with the restrictions or procedures set forth herein.

40. Prior Agreements. The Parties agree that the provisions and requirements set

forth in this Order supersede all prior agreements with respect to Discovery Material.

41. Enforcement: The provisions of this Order constitute an Order of this Court and
violations of the provisions of this Order are subject to enforcement and the imposition of legal

sanctions in the same manner as any other Order of the Court.

Wilmington, Delaware .)) \ x=
Dated: ts PB , 2014 Richards, Laytoh/& Finger, P.A.

Mark D. Collins (No. 2981)

Daniel J. DeFranceschi (No. 2732)

Jason M. Madron (No. 4431)

920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700
Facsimile: (302) 651-7701

-and-

Kirkland & Ellis LLP

Richard M. Cieri (admitted pro hac vice)
Edward O. Sassower, P.C. (admitted pro hac
vice)

Stephen E. Hessler (admitted pro hac vice)
Brian E. Schartz (admitted pro hac vice)

601 Lexington Avenue

New York, NY 10022

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

-and-

James H.M. Sprayregen, P.C. (admitted pro
hac vice)

Chad J. Husnick (admitted pro hac vice)
Steven N. Serajeddini (admitted pro hac

21

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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 23 of 38

vice)

Andrew McGaan (admitted pro hac vice)
William T. Pruitt (admitted pro hac vice)
300 North LaSalle

Chicago, IL 60654

Telephone: (312) 862-2000

Facsimile: (312) 862-2200

-and-

Bridget O’Connor (admitted pro hac vice)
David R. Dempsey (admitted pro hac vice)
655 15th St NW

Washington, DC 20005

Telephone: (202) 879-5000

Facsimile: (202) 879-5200

-and-

Mark E. McKane (admitted pro hac vice)
555 California Street

San Francisco, CA 94104

Telephone: (415) 439-1400

Facsimile: (415) 439-1500

Proposed Counsel to the Debtors and
Debtors in Possession

22
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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 24 of 38

Dated: A { j, 2014

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By: GA pr AZwYer

Young Conaway Starkatt & Taylor LLP
Pauline K. Morga . 3650)

Joel A. Waite (No. 2925)
Ryan M. Bartley (No. 4985)
Rodney Square

1000 North King Street
Wilmington, DE 19801
Telephone: (302) 571-6600
Facsimile: (302) 571-1253

-and-

Paul, Weiss, Rifkind, Wharton &
Garrison LLP

Alan W. Kornberg (admitted pro hac vice)
Kelley A. Cornish (admitted pro hac vice)
Andrew J. Ehrlich (admitted pro hac vice)
Adam J. Bernstein (admitted pro hac vice)
1285 Avenue of the Americas

New York, NY 10019

Telephone: (212) 373-3209

Facsimile: (212) 492-0209

Counsel for Ad Hoc Committee of TCEH
First Lien Creditors

23
Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 25 of 38

Dated: , 2014 By:
Ashby & Geddes, P.A.
William P. Bowden (No. 2553)
Gregory A. Taylor (No. 4008)
500 Delaware Avenue, 8th Floor
P.O. Box 1150
Wilmington, DE 19899
Telephone: (302) 654-1888
Facsimile: (302) 654-2067

-and-

Brown Rudnick LLP

Edward S. Weisfelner (admitted pro hac vice)
7 Times Square

New York, NY 10036

Telephone: (202) 209-4800

Facsimile: (202) 209-4801

-and-

Jeffrey L. Jonas (admitted pro hac vice)
Jeffrey B. Coffey (admitted pro hac vice)
One Financial Center

Boston, MA 02111

Telephone: (617) 856-8200

Facsimile: (617) 856-8201

Co-Counsel to Wilmington Savings Fund
Society, FSB, in its capacity as successor
Indenture Trustee

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RLF1 10543434v.1
Case 14-10979-CSS Doc 1832-2 Filed 0 Page 26 of 38

Dated: & (13 , 2014

RLF1 10543434v.1

ox Rothschild LLP
Jeffrey M. Schlerf (No. 3047)

John H. Strock (No. 4965)

,. John Bird (No. 5310)

Citizens Bank Center

919 North Market Street, Suite 1600
Wilmington, DE 19801

Telephone: (302) 654-7444
Facsimile: (302) 463-4971

-and-

White & Case

Thomas E. Lauria (admitted pro hac vice)
Matthew C. Brown (admitted pro hac vice)
Southeast Financial Center, Suite 4900
200 South Biscayne Blvd.

Miami, FL 33131

Telephone: (305) 371-2700

Facsimile: (305) 358-5744

J. Christopher Shore (admitted pro hac vice)
Gregory M. Starner (admitted pro hac vice)
Danielle M. Audette (admitted pro hac vice)
1155 Avenue of the Americas

New York, NY 10036

Telephone: (212) 819-8200

Facsimile: (212) 354-8113

Counsel to the Ad Hoc Group of TCEH Unsecured
Noteholders

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Dated: SII 3.2014

Dated: Slit , 2014

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By:
Polsinelli PC

Christopher A. Ward (No. 3877)
Justin K. Edelson (No. 5002)
Shanti M. Katona (No. 5352)

222 Delaware Avenue, Suite 1101
Wilmington, Delaware 19801
Telephone: (302) 252-0920
Facsimile: (302) 252-0921

-and-

Morrison & Foerster LLP

James M. Peck (admitted pro hac vice)
Brett M. Miller (admitted pro hac vice)
Lorenzo Marinuzzi (admitted pro hac vice)
Todd M. Goren (admitted pro hac vice)
Charles L, Kerr (admitted pro hac vice)
250 West 55th Street

New York, NY 10019

Telephone: (212) 468-8000,

Facsimile: (212) 4 8-790

Counsel f e Dffixlial Zommittee of Unsecured Creditors

By:
Cross & Simot/LLC

Michael J. Joyce (No. 4563)

913 N. Market Street, 11th Floor
Wilmington, DE 19801
Telephone: (302) 777-4200

Fried Frank Harris Shriver & Jacobson LLP
Gary Kaplan (admitted pro hac vice)

One New York Plaza

New York, NY 10004

Telephone: (212) 859-8000

Facsimile: (212) 859-4000

Counsel for Certain funds and accounts advised or sub-

advised by Fidelity Management & Research Company or
its affiliates

26
Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 28 of 38

Dated: \3 , 2014 By:
Cole Schotz Meisel Forman & Leonard, P.A
Norman L. Pernick (No. 2290)
J. Kate Stickles (No. 2817)
Nicholas J. Brannick (No. 5721)
500 Delaware Avenue, Suite 1410
Wilmington, DE 19801
Telephone: (302) 652-3131
Facsimile: (302) 652-3117

Warren A. Usatine (admitted pro hac vice)
25 Main Street

P.O. Box 800

Hackensack, NJ 07602

Telephone: (201) 489-3000

Facsimile: (201) 489-1536

-and-

Ropes & Gray

Mark R. Somerstein (admitted pro hac vice)
Keith H. Wofford (admitted pro hac vice)
1211 Avenue of the Americas

New York, NY 10036

Telephone: (212) 596-9000

Facsimile: (212) 596-9090

Andrew G. Devore (admitted pro hac vice)
D. Ross Martin (admitted pro hac vice)
Prudential Tower

800 Boylston Street

Boston, MA 02199

Telephone: (617) 951-7000

Facsimile: (617) 951-7050

Drinker Biddle & Reath LLP
Howard A. Cohen (No. 4082)

222 Delaware Avenue, Suite 1410
Wilmington, DE 19801-1621
Telephone: (302) 467-4200
Facsimile: (302) 467-4201

Robert K. Malone (admitted pro hac vice)
600 Campus Drive

Florham Park, NJ 07932

Telephone: (973) 549-7000

Facsimile: (973) 360-983 |

Attorneys for CSC Trust Company of Delaware, as

successor indenture trustee and collateral trustee

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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 29 of 38

Dated: , 2014

Robert J. Feinstein (admitted pro hac vice)
John A. Morris (admitted pro hac vice)
780 Third Avenue, 36th Floor

New York, NY 10017

Telephone: (212) 561-7700

Facsimile: (212) 561-7777

-and-

Bryan Cave LLP

Stephanie Wickouski (admitted pro hac vice)
1290 Avenue of the Americas

New York, NY 10104

Telephone: (212) 541-2000

Facsimile: (212) 541-1439

-and-

Kramer Levin Naftalis & Franke! LLP
Thomas Moers Mayer (admitted pro hac vice)
Gregory A. Horowitz (admitted pro hac vice)
Joshua K. Brody (admitted pro hac vice)
Philip Bentley (admitted pro hac vice)

1177 Avenue of the Americas

New York, NY 10036

Telephone: (212) 715-9100

Facsimile: (212) 715-8000

Counsel for the EFIH Second Lien Indenture
Trustee

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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 30 of 38

Dated: ey (3, 2014 By: ‘

Klehr Harrison Harvey Branzburg LLP
Raymond H. Lemisch (No. 4204)

919 Market Street, Suite 1000
Wilmington, DE 19801

Telephone: (302) 426-1189

Facsimile: (302) 426-9193

-and-

Foley & Lardner LLP

Harold L. Kaplan (admitted pro hac vice)
Mark F. Hebbeln (admitted pro hac vice)
Lars A. Peterson (admitted pro hac vice)
321 North Clark Street, Suite 2800
Chicago, IL 60654

Telephone: (312) 832-4500

Facsimile: (312) 832-4700

Barry G. Felder (admitted pro hac vice)
Jonathan H. Friedman (admitted pro hac vice)
Rebecca A. Hayes (admitted pro hac vice)

90 Park Avenue

New York, NY 10016

Telephone: (212) 682-7474

Facsimile: (212) 687-2329

Counsel for UMB Bank, N.A., as Indenture Trustee

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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 31 of 38

Dated: , 2014

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AQ

CROSS & SIMON, LLC

Christopher P. Simon (Del. Bar No. 3697)
913 North Market Street, 11th Floor
Wilmington, Delaware 19801

Telephone: (302) 777-4200

Facsimile: (302) 777-4224
csimon@crosslaw.com

- and —

NIXON PEABODY LLP

Amanda D. Darwin (admitted pro hac vice)
Richard C. Pedone (admitted pro hac vice) -
Erik Schneider (admitted pro hac vice)

100 Summer Street

Boston, Massachusetts 02110

Telephone: (617) 345-1000

Facsimile: (617) 345-1300
adarwin@nixonpeabody.com
rpedone@nixonpeabody.com
eschneider@nixonpeabody.com

Counsel to American Stock Transfer & Trust
Company, LLC, as Indenture Trustee

by L/ Dok F¥. eral

hevotse & Plimpton LLP
Wendy B. Reilly
919 Third Avenue
New York, New York 10022
Telephone: (212) 909-6000
Facsimile: (212) 521-7317

Counsel to Evercore Group L.L.C.

30
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Dated: 9, 2014 By:
Cc s Chipman & Brown, LLP

Scott D. Cousins (No. 3079)

Mark D. Olivere (No. 4291)

Ann M. Kashishian (No. 5622)

1007 North Orange Street, Suite 1110
Wilmington, DE 19801

Telephone: (302) 295-0191
Facsimile: (302) 295-0199

-and-

Akin Gump Strauss Hauer & Feld LLP
Ira Dizengoff (admitted pro hac vice)
Stephen M. Baldini (admitted pro hac vice)
Robert J. Boller (admitted pro hac vice)
Abid Qureshi (admitted pro hac vice)
Meredith A. Lahaie (admitted pro hac vice)
One Bryant Place

Bank of America Tower

New York, NY 10036

Telephone: (212) 872-1000

Facsimile: (212) 872-1002

Scott L. Alberino (admitted pro hac vice)
1333 New Hampshire Avenue NW
Washington, DC 20036

Telephone: (202) 887-4000

Facsimile: (202) 887-4288

Counsel for the Ad Hoc Committee of EFIH
Unsecured Noteholders, EFTH Second Lien DIP
Commitment Parties

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Dated: i cae

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Conaolly Galla

Karen C. Biffe 0. a)
1000 N. West Oe Suite 1400
Wilmington, DE 19801
Telephone: (302) 888-6221)

Facsimile: (302) 757-7299

Bingham McCutcheon

Jeffrey S. Sabin (admitted pro hac vice)
399 Park Avenue

New York, NY 10022

Telephone: (212) 705-7000

Facsimile: (212) 752-5378

-and-

Julia Frost-Davies (admitted pro hac vice)
One Federal Street

Boston, MA 02110

Telephone: (617) 951-8000

Facsimile: (617) 951-8736

Counsel for Pacific Investment Management Co.

LLC

32
Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 34 of 38

Dated: fequsk 132014 By: LA Mrchael De Baecke
Blank Rome LLP
Michael D. DeBaecke (No. 3186)
Stanley B. Tarr (No. 5535)
1201 N. Market Street, Suite 800
Wilmington, DE 19801
Telephone: (302) 425-6400
Facsimile: (302) 425-6464

-and-

Seward & Kissel LLP

John R. Ashmead (admitted pro hac vice)
Mark D. Kotwick (admitted pro hac vice)
One Battery Park Plaza

New York, NY 10004

Telephone: (212) 574-1200

Facsimile: (212) 480-8421

Counsel to the TCEH First Lien Credit Agent

33

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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 35 of 38

ce
Dated: /1¥4, 13,2014 By: CN CQ on Pom

Morris, Nichols, Arsht & Tunnell LLP
Derek C. Abbott (No. 3376)

Erin R. Fay (No. 5268)

1201 North Market Street, 16th Floor
P.O. Box 1347

Wilmington, DE 19899

Telephone: (302) 658-9200

Facsimile: (302) 658-3989

-and-

Wachtell, Lipton, Rosen & Katz

John F. Lynch (admitted pro hac vice)
Emil A. Kleinhaus (admitted pro hac vice)
Angela K. Herring (admitted pro hac vice)
51 West 52nd Street

New York, NY 10019

Telephone: (212) 403-1000

Facsimile: (212) 403-2000

Counsel for Texas Energy Future Capital Holdings
LLC, Texas Energy Future Holdings Limited
Partnership, and Certain Other Direct or Indirect
Holders of Equity Interests in Energy Future
Holdings Corp.

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Case 14-10979-CSS Doc 1832-2 Filed 08/13/14 Page 36 of 38

Dated: Arvst 3 2014 SO ORDERED:

(GA

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

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Exhibit A

DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND BY
THE CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

L , declare under penalty of perjury (this

“Declaration”) that:

1. My address is

2. My present employer is
3. My present occupation or job description is
4, I hereby certify and agree that I have read and understand the terms of the

Confidentiality Agreement and Stipulated Protective Order (the “Order”) relating to the Disputes
between Debtors and certain of the Debtors’ creditors and other constituents, as specified in the
signature pages of the Order. All capitalized terms not otherwise defined in this Declaration
have the meanings ascribed to such terms in the Order. I further certify that I will not use
Designated Material for any purpose other than the Disputes and the Chapter 11 Cases, and will
not disclose or cause Designated Material to be disclosed to anyone not expressly permitted by
the Order to receive Designated Material. I agree to be bound by the terms and conditions of the
Order.

5. I understand that I am to retain in confidence from all individuals not expressly
permitted to receive Designated Material, whether at home or at work, all copies of any
Designated Materials, and that I will carefully maintain such materials in a manner consistent
with the Order. I acknowledge that the return or destruction of Designated Material shall not

relieve me from any other continuing obligations imposed upon me by the Order.

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6. I acknowledge and agree that I am aware that by receiving Designated Material
(a) I may be receiving material non-public information about companies that issue securities and
(b) there exist laws, including federal securities laws, that may restrict or prohibit the sale or

purchase of securities of such companies as a result of the receipt of such information.

7. I stipulate to the jurisdiction of this Court solely with respect to the provisions of
the Order.
Date:
(Signature)
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